      Case 3:15-cv-04324-WHO
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                    UNITED STATES COURT OF APPEALS
                                                                       MOLLY C. DWYER, CLERK
                                                                        U.S. COURT OF APPEALS
                            FOR THE NINTH CIRCUIT


NARUTO, a Crested Macaque, by and               No.    16-15469
through his Next Friends, People for the
Ethical Treatment of Animals, Inc.,             D.C. No. 3:15-cv-04324-WHO
                                                Northern District of California,
              Plaintiff-Appellant,              San Francisco

 v.
                                                ORDER
DAVID JOHN SLATER; BLURB, INC., a
Delaware corporation; WILDLIFE
PERSONALITIES, LTD., a United
Kingdom private limited company,


              Defendants-Appellees.


Before: BEA and N.R. SMITH, Circuit Judges, and ROBRENO,* District Judge.

      A judge of the court sua sponte requested a vote on whether to rehear this

case en banc. A vote was taken, and the matter failed to receive a majority of the

votes of the non-recused active judges in favor of en banc consideration. See Fed.

R. App. P. 35(f). Rehearing en banc is DENIED.




      *
             The Honorable Eduardo C. Robreno, United States District Judge for
the Eastern District of Pennsylvania, sitting by designation.
